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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    UNOPPOSED ADMINISTRATIVE MOTION TO
                   21                                                   FILE UNDER SEAL JOINT DISCOVERY
                               v.                                       LETTER BRIEF AND EXHIBITS
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
                   25

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COOLEY LLP
ATTORNEYS AT LAW                                                                        UNOPPOSED ADMIN MTN TO SEAL
                                                                                             JOINT BRIEF AND EXHIBITS
                                                                                               3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(c)–(e), Defendant Meta Platforms, Inc. (“Meta”) moves

                    2   this Court for an Order allowing Meta to file under seal a confidential, unredacted versions of

                    3   documents relating to the Parties’ Joint Discovery Letter regarding Meta’s search terms (“Joint

                    4   Letter Brief”). Meta respectfully submits that good cause exists for the filing of these documents

                    5   under seal. The motion is based on the following Memorandum of Points and Authorities and the

                    6   Declaration of Kyanna Sabanoglu in support of this Unopposed Administrative Motion to File

                    7   Under Seal.

                    8          The following chart lists the document for which Meta requests sealing in order to protect

                    9   Meta’s confidential business information.

                   10
                         Document                                         Sealing Request
                   11
                         Joint Letter Brief                                       Redacted portions
                   12
                         Exhibit A to Joint Letter Brief                          Redacted portions
                   13
                         Exhibit B to Joint Letter Brief                          Redacted portions
                   14

                   15   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter
                   16   Brief itself and the supporting evidence attached thereto as further support for this Unopposed
                   17   Administrative Motion.
                   18   I.     LEGAL ARGUMENT

                   19          Though the presumption of public access to judicial proceedings and records is strong, it

                   20   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit

                   21   treats documents “attached to dispositive motions differently from records [i.e., documents]

                   22   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                   23   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For

                   24   non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.

                   25   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);

                   26   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in

                   27   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the

                   28   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
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                                                                          1                         JOINT BRIEF AND EXHIBITS
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                    1   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                    2   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).

                    3          The redacted portions of the Joint Letter Brief contain Meta’s confidential information, for

                    4   which Meta requests sealing. The portions of the Joint Letter Brief discuss Meta’s highly sensitive,

                    5   confidential practices and processes surrounding its Llama models and the datasets used to train

                    6   the Llama models. The redacted portions of Exhibits A and B to the Joint Letter Brief include search

                    7   terms that reflect Meta’s highly sensitive business strategies and partnerships – including names of

                    8   third-parties that are subject to non-disclosure agreements – and highly sensitive information

                    9   concerning confidential practices and processes surrounding Meta’s Llama models and the datasets

                   10   used to train them. This information is based on documents and testimony produced and provided

                   11   in this litigation and marked “Highly Confidential – Outside Attorneys’ Eyes Only.” Meta must

                   12   request sealing of these materials, as this information is highly sensitive and non-public. Meta

                   13   takes steps to carefully protect the confidentiality of information of this sort, as disclosure has the

                   14   potential to cause significant competitive injury to Meta. See, e.g., Space Data Corp. v. Alphabet

                   15   Inc., No. 16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding

                   16   information regarding party’s confidential and proprietary technical information, and sensitive

                   17   financial information sealable). These sealing requests are critical to protect Meta’s confidential

                   18   sensitive technical and competitive information.

                   19          The specific bases for sealing these documents are outlined in the accompanying declaration

                   20   of Meta’s Associate General Counsel, IP Litigation, Kyanna Sabanoglu. As outlined in Ms.

                   21   Sabanoglu’s declaration, disclosure of the protected information contained in the materials Meta

                   22   seeks to seal would cause competitive harm to Meta if this information is publicly disclosed. Meta’s

                   23   proposed redactions are narrowly tailored to include only that information which would cause

                   24   specific, articulable harm, as identified in Ms. Sabanoglu’s declaration. In each instance, the harm

                   25   to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone App. Litig., No. 11-

                   26   md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting motion to seal

                   27   where the defendant’s interest in “maintaining the confidentiality of information about its

                   28   technology and internal business operations” outweighed that of the public in accessing such
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                    1   documents).

                    2   II.    CONCLUSION
                    3          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                    4   above-listed document accompanies this Unopposed Administrative Motion. For the foregoing

                    5   reasons, Meta respectfully requests that the Court grant its Administrative Motion to Seal.

                    6

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